

Matter of Fried v Polacco (2021 NY Slip Op 00011)





Matter of Fried v Polacco


2021 NY Slip Op 00011


Decided on January 05, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: January 05, 2021

Before: Webber, J.P., Singh, Kennedy, Shulman, JJ. 


Index No. 655888/18 Appeal No. 12784 Case No. 2019-03347 

[*1]In the Matter of Paul Fried, Petitioner-Respondent,
vMichael Polacco, Respondent-Appellant.


Smith &amp; Schwartzstein LLC, New York (Andrew B. Smith of counsel), for appellant.
Terence Christian Scheuer, P.C., Carle Place (Terence C. Scheuer of counsel), for respondent.



Order, Supreme Court, New York County (Andrew Borrok, J.), entered July 18, 2019, which granted the petition to confirm an arbitral award and denied the cross petition to vacate the award, unanimously affirmed, without costs.
While the transcript of one day of the arbitration hearing is missing from the record on appeal, absent a showing that the error was other than inadvertent or that petitioner was prejudiced by the omission, this is not a ground for dismissing the appeal (see 2001 Real Estate v Campeau Corp. [U.S.], 148 AD2d 315 [1st Dept 1989]).
Respondent's challenges to the award are all based on his disagreement with the arbitrator's credibility determinations or weighing of the evidence or application of the relevant legal principles. These are patently insufficient grounds for overturning an arbitral award (see CPLR 7511[b][1]); Matter of Silverman [Benmor Coats], 61 NY2d 299, 308—309 [1984]; see also Wien &amp; Malkin LLP v Helmsley-Spear, Inc., 6 NY3d 471, 479—480 [2006], cert dismissed 548 US 940 [2006]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: January 5, 2021








